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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 UNITED STATES OF AMERICA,                   §
                                             §
        Plaintiff,                           §
                                             §
 v.                                          §
                                             §    Criminal Action No. 4:21-CR-5-O
 THE BOEING COMPANY,                         §
                                             §
        Defendant.                           §

                                         ORDER

       Before the Court are Movants’ Second Amended Motion (ECF No. 52); Motion for

Exercise of Supervisory Power over the Deferred Prosecution Agreement (ECF No. 17); Motion

for Arraignment of Boeing (ECF No. 18); and Motion for Disclosure of Relevant Information

(ECF No. 72). The Court ORDERS a hearing on the motions, to take place on May 3, 2022, at

9:00 AM in the Second Floor Courtroom of the Federal Courthouse in Fort Worth, Texas.

       SO ORDERED this 18th day of April, 2022.



                                             _____________________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE
